Case 2:03-cV-02662-.]P|\/|-de Document 36 Filed 08/26/05 Page 1 of 2 Page|D 58

Fil.ED BY ]Q,_ D,c_
J:N THE UNITED sTA-rzs nIsTRIcT coun'r
FoR THE wEsTERN nrsTRIc-r oF TENNESSEE 05 AUG 26 AH 8: |3
wEsTERN DIvIsIoN

GARY W. CLEMONS, on behalf of
himself end all other
similarly situated employees of
U.S. Concrete, Inc. and Titan
Concrete Industries (formerly
known as Cerrier Exoevation &
Foundetion Compeny),

Plaintiffs,
v. No. 03-2662 Ml/V
TITAN CONCRETE INDUSTRIES
(formerly known as CARRIER
EXCANLTION & FOUNDATION
COMPANY),

Defendant.

 

ORDER SETTING TELEPHONE CONFERENCE

 

A telephone conference has been set for Fridav, September 2,
2005, at 11:30 a.m. to discuss the parties' Joint Motion for
Approval of Settlement Agreements and Entry of an Order of
Dismissall, filed August 12, 2005. The Court shall initiate the
call to the parties.

SO ORDERED this gas day of August, 2005.

nw

JO P. MCCALLA
ITED STATES DISTRICT JUDGE

 

 

l The parties should be prepared to discuss the effect of
dismissal on any non-settling members of the collective action.

Thls document entered on the docket heat |n compliance
with ama 53 and/or may FRCP on f 122/0 '0 5

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:03-CV-02662 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

